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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OFVIRGINIA
                                       Charlottesville Division

       ELIZABETH SINES, et al.,

                          Plaintiffs,                       No. 3:17-cv-00072-NKM

         v.                                                 JURY TRIAL DEMANDED

       JASON KESSLER, et al.,

                          Defendants.

               DEFENDANT JEFF SCHOEP’S AMENDED PRETRIAL DISCLOSURES


              Comes now, Defendant Jeff Schoep, by and through counsel, respectfully submits the

  following AMENDED disclosures pursuant to Federal Rule of Civil Procedure 26(a)(3) and to the

  Amended Pretrial Order entered and filed by this Court on July 15, 2021, ECF 991.

  Amended Witness List:

  1.    Defendant Jeff Schoep

  2.    Daryl Davis

  3.    Any witness on plaintiffs’ or any co-defendant’s witness list that has not been otherwise
        objected to by defense counsel.

  4.    Any witnesses necessary for rebuttal or impeachment purposes.

              Defendant Schoep reserves the right to supplement or revise these disclosures, prior to the

  time of trial.

  Respectfully submitted September 22, 2021.

                                                   /s/ W. Edward ReBrook, IV
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                                     Counsel for Defendants Jeff Schoep, National
                                     Socialist Movement, Nationalist Front, David
                                     Matthew Parrott, Matthew Heimbach, and
                                     Traditionalist Worker Party




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on September 22, 2021, I filed the foregoing with the Clerk of Court

   through the CM/ECF system, which will send a notice of electronic filing to all counsel of record

   in the case, as well as all ECF-registered pro se parties.

          I hereby further certify that on September 22, 2021, I served a copy of the foregoing on

   the following non-ECF pro se parties, via electronic mail, as follows:

   Richard Spencer                                        Robert “Azzmador” Ray
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                                                  /s/ W. Edward Rebrook, IV
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                                                  Counsel for Defendants Jeff Schoep,




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                                             National Socialist Movement,
                                             Nationalist Front, David Matthew
                                             Parrott, Matthew Heimbach, and
                                             Traditionalist Worker Party




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